                                                                              Case 14-26409-JNP                    Doc 9   Filed 08/21/14 Entered 08/21/14 15:22:16                                 Desc Main
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                                                                     B22C (Official Form 22C) (Chapter 13) (04/13)                         According to the calculations required by this statement:
                                                                                                                                               The applicable commitment period is 3 years.
                                                                     In re: Tucci, Mark R. & Tucci, Mary Anne P.                               The applicable commitment period is 5 years.
                                                                                                      Debtor(s)
                                                                                                                                               Disposable income is determined under § 1325(b)(3).
                                                                     Case Number:
                                                                                                      (If known)                               Disposable income is not determined under § 1325(b)(3).
                                                                                                                                           (Check the boxes as directed in Lines 17 and 23 of this statement.)


                                                                                          CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                    AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
                                                                     Joint debtors may complete one statement only.


                                                                                                                           Part I. REPORT OF INCOME

                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                              b.    Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10.
                                                                        1
                                                                              All figures must reflect average monthly income received from all sources, derived during                      Column A                Column B
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                                                                              the six calendar months prior to filing the bankruptcy case, ending on the last day of the                     Debtor’s                Spouse’s
                                                                              month before the filing. If the amount of monthly income varied during the six months, you                      Income                  Income
                                                                              must divide the six-month total by six, and enter the result on the appropriate line.
                                                                        2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                 $       4,052.96 $              871.90
                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line
                                                                              a and enter the difference in the appropriate column(s) of Line 3. If you operate more than
                                                                              one business, profession or farm, enter aggregate numbers and provide details on an
                                                                              attachment. Do not enter a number less than zero. Do not include any part of the business
                                                                        3     expenses entered on Line b as a deduction in Part IV.
                                                                               a.    Gross receipts                                    $
                                                                               b.    Ordinary and necessary operating expenses         $
                                                                               c.    Business income                                   Subtract Line b from Line a
                                                                                                                                                                                         $                       $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the
                                                                              difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
                                                                              not include any part of the operating expenses entered on Line b as a deduction in
                                                                              Part IV.
                                                                        4
                                                                               a.    Gross receipts                                    $
                                                                               b.    Ordinary and necessary operating expenses         $
                                                                               c.    Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                                         $                       $
                                                                        5     Interest, dividends, and royalties.                                                                        $                       $
                                                                        6     Pension and retirement income.                                                                             $                       $
                                                                              Any amounts paid by another person or entity, on a regular basis, for the household
                                                                              expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                        7     that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                              by the debtor’s spouse. Each regular payment should be reported in only one column; if a
                                                                              payment is listed in Column A, do not report that payment in Column B.                                     $                       $
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                                                                             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                             However, if you contend that unemployment compensation received by you or your spouse
                                                                             was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                       8     Column A or B, but instead state the amount in the space below:
                                                                              Unemployment compensation
                                                                              claimed to be a benefit under the
                                                                              Social Security Act                     Debtor $                  Spouse $
                                                                                                                                                                            $               $
                                                                             Income from all other sources. Specify source and amount. If necessary, list additional
                                                                             sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
                                                                             maintenance payments paid by your spouse, but include all other payments of alimony
                                                                             or separate maintenance. Do not include any benefits received under the Social Security
                                                                       9     Act or payments received as a victim of a war crime, crime against humanity, or as a victim
                                                                             of international or domestic terrorism.
                                                                              a.                                                                           $
                                                                              b.                                                                           $
                                                                                                                                                                            $               $
                                                                             Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                       10
                                                                             through 9 in Column B. Enter the total(s).                                                    $     4,052.96 $       871.90
                                                                             Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
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                                                                       11    and enter the total. If Column B has not been completed, enter the amount from Line 10,
                                                                             Column A.                                                                                      $                   4,924.86

                                                                                              Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD

                                                                       12    Enter the amount from Line 11.                                                                                 $    4,924.86
                                                                             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend
                                                                             that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
                                                                             your spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on
                                                                             a regular basis for the household expenses of you or your dependents and specify, in the lines below, the
                                                                             basis for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of
                                                                             persons other than the debtor or the debtor’s dependents) and the amount of income devoted to each
                                                                             purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
                                                                       13
                                                                             adjustment do not apply, enter zero.
                                                                              a.                                                                                       $
                                                                              b.                                                                                       $
                                                                              c.                                                                                       $
                                                                              Total and enter on Line 13.                                                                                   $        0.00
                                                                       14    Subtract Line 13 from Line 12 and enter the result.                                                            $    4,924.86
                                                                             Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
                                                                       15
                                                                             12 and enter the result.                                                                                       $   59,098.32
                                                                             Applicable median family income. Enter the median family income for the applicable state and
                                                                             household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                       16    the bankruptcy court.)
                                                                             a. Enter debtor’s state of residence: New Jersey                     b. Enter debtor’s household size:     2   $   71,178.00
                                                                             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                                                                                The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
                                                                       17       3 years” at the top of page 1 of this statement and continue with this statement.
                                                                                The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment
                                                                                period is 5 years” at the top of page 1 of this statement and continue with this statement.

                                                                                   Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
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                                                                       18    Enter the amount from Line 11.                                                                                 $    4,924.86
                                                                             Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the
                                                                             total of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household
                                                                             expenses of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the
                                                                             Column B income (such as payment of the spouse’s tax liability or the spouse’s support of persons other
                                                                             than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
                                                                             necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do
                                                                       19    not apply, enter zero.
                                                                              a.                                                                                         $
                                                                              b.                                                                                         $
                                                                              c.                                                                                         $
                                                                              Total and enter on Line 19.                                                                                   $        0.00
                                                                       20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                   $    4,924.86
                                                                             Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
                                                                       21
                                                                             12 and enter the result.                                                                                       $   59,098.32
                                                                       22    Applicable median family income. Enter the amount from Line 16.                                                $   71,178.00
                                                                             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
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                                                                                The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
                                                                                under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                       23
                                                                                The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
                                                                                determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
                                                                                complete Parts IV, V, or VI.

                                                                                         Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)

                                                                                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                             National Standards: food, apparel and services, housekeeping supplies, personal care, and
                                                                             miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
                                                                             Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or
                                                                      24A
                                                                             from the clerk of the bankruptcy court.) The applicable number of persons is the number that would
                                                                             currently be allowed as exemptions on your federal income tax return, plus the number of any additional
                                                                             dependents whom you support.                                                                                   $
                                                                             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                             persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                             years of age or older. (The applicable number of persons in each age category is the number in that
                                                                             category that would currently be allowed as exemptions on your federal income tax return, plus the number
                                                                             of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
                                                                      24B    persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
                                                                             persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
                                                                             amount, and enter the result in Line 24B.
                                                                              Persons under 65 years of age                           Persons 65 years of age or older
                                                                              a1.    Allowance per person                             a2.    Allowance per person
                                                                              b1.    Number of persons                                b2.    Number of persons
                                                                              c1.    Subtotal                                         c2.    Subtotal
                                                                                                                                                                                            $
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                                                                             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
                                                                             and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
                                                                      25A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.                                    $
                                                                             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
                                                                             the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                             information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.); enter on Line b the total of
                                                                             the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b
                                                                      25B    from Line a and enter the result in Line 25B. Do not enter an amount less than zero.
                                                                              a.   IRS Housing and Utilities Standards; mortgage/rental expense          $
                                                                              b.   Average Monthly Payment for any debts secured by your home, if
                                                                                   any, as stated in Line 47                                             $
                                                                              c.   Net mortgage/rental expense                                           Subtract Line b from Line a
                                                                                                                                                                                           $
                                                                             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
                                                                             and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                             Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
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                                                                             for your contention in the space below:

                                                                       26




                                                                                                                                                                                           $
                                                                             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                             an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
                                                                             and regardless of whether you use public transportation.
                                                                             Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                             expenses are included as a contribution to your household expenses in Line 7.
                                                                      27A      0     1      2 or more.
                                                                             If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                             Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
                                                                             Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                             Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                             of the bankruptcy court.)                                                                                     $
                                                                             Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                             expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                      27B    additional deduction for your public transportation expenses, enter on Line 27B the “Public
                                                                             Transportation” amount from IRS Local Standards: Transportation. (This amount is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                $
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                                                                             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                             which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
                                                                             than two vehicles.)
                                                                               1      2 or more.
                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                       28    the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47;
                                                                             subtract Line b from Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                              a.   IRS Transportation Standards, Ownership Costs                           $
                                                                                   Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                              b.   stated in Line 47                                                       $
                                                                              c.   Net ownership/lease expense for Vehicle 1                               Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                             checked the “2 or more” Box in Line 28.

                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                             the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47;
                                                                       29    subtract Line b from Line a and enter the result in Line 29. Do not enter an amount less than zero.
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                                                                              a.   IRS Transportation Standards, Ownership Costs                           $
                                                                                   Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                              b.   stated in Line 47                                                       $
                                                                              c.   Net ownership/lease expense for Vehicle 2                               Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                       30    federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
                                                                             taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                     $
                                                                             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                       31    deductions that are required for your employment, such as mandatory retirement contributions, union dues,
                                                                             and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                 $
                                                                             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
                                                                       32    for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
                                                                             whole life or for any other form of insurance.                                                                   $
                                                                             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                       33    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                             payments. Do not include payments on past due obligations included in Line 49.                                   $
                                                                             Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                             child. Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                       34
                                                                             employment and for education that is required for a physically or mentally challenged dependent child for
                                                                             whom no public education providing similar services is available.                                                $
                                                                             Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
                                                                       35    on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                             payments.                                                                                                        $
                                                                             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually
                                                                             expend on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                       36
                                                                             reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                             Line 24B. Do not include payments for health insurance or health savings accounts listed in Line 39.             $
                                                                             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
                                                                             you actually pay for telecommunication services other than your basic home telephone and cell phone
                                                                       37    service—such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
                                                                             necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                             deducted.                                                                                                        $
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                                                                       38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                             $

                                                                                                             Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                         Note: Do not include any expenses that you have listed in Lines 24-37

                                                                             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                             expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
                                                                             spouse, or your dependents.
                                                                                 a.   Health Insurance                                             $
                                                                                 b.   Disability Insurance                                         $
                                                                       39        c.   Health Savings Account                                       $
                                                                             Total and enter on Line 39                                                                                      $
                                                                             If you do not actually expend this total amount, state your actual total average monthly expenditures in
                                                                             the space below:

                                                                             $
                                                                             Continued contributions to the care of household or family members. Enter the total average actual
                                                                             monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                       40
                                                                             elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                             unable to pay for such expenses. Do not include payments listed in Line 34.                                     $
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                                                                             Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                             you actually incur to maintain the safety of your family under the Family Violence Prevention and
                                                                       41
                                                                             Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                             confidential by the court.                                                                                      $
                                                                             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                             Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
                                                                       42
                                                                             provide your case trustee with documentation of your actual expenses, and you must demonstrate
                                                                             that the additional amount claimed is reasonable and necessary.                                                 $
                                                                             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
                                                                             actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or
                                                                       43    secondary school by your dependent children less than 18 years of age. You must provide your case
                                                                             trustee with documentation of your actual expenses, and you must explain why the amount claimed
                                                                             is reasonable and necessary and not already accounted for in the IRS Standards.                       $
                                                                             Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                             clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                       44    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                             additional amount claimed is reasonable and necessary.                                                          $
                                                                             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                             charitable contributions in the form of cash or financial instruments to a charitable organization as defined
                                                                       45
                                                                             in 26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly
                                                                             income.                                                                                                         $
                                                                       46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                     $
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                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                             Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                             you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
                                                                             Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
                                                                             the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
                                                                             following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
                                                                             page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                                                                                             Average        Does payment
                                                                       47                                                                                    Monthly      include taxes or
                                                                                   Name of Creditor                  Property Securing the Debt              Payment           insurance?
                                                                              a.                                                                         $                     yes    no
                                                                              b.                                                                         $                     yes    no
                                                                              c.                                                                         $                     yes    no
                                                                                                                                          Total: Add lines a, b and c.
                                                                                                                                                                                               $
                                                                             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
                                                                             residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                             you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the
                                                                             creditor in addition to the payments listed in Line 47, in order to maintain possession of the property. The
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                                                                             cure amount would include any sums in default that must be paid in order to avoid repossession or
                                                                             foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
                                                                             separate page.
                                                                       48                                                                                                    1/60th of the
                                                                                   Name of Creditor                            Property Securing the Debt                    Cure Amount
                                                                              a.                                                                                           $
                                                                              b.                                                                                           $
                                                                              c.                                                                                           $
                                                                                                                                                              Total: Add lines a, b and c.     $
                                                                             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims,
                                                                       49    such as priority tax, child support and alimony claims, for which you were liable at the time of your
                                                                             bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                          $
                                                                             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter
                                                                             the resulting administrative expense.
                                                                              a.   Projected average monthly Chapter 13 plan payment.                $
                                                                              b.   Current multiplier for your district as determined under
                                                                                   schedules issued by the Executive Office for United States
                                                                       50
                                                                                   Trustees. (This information is available at
                                                                                   www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                   court.)                                                           X
                                                                              c.   Average monthly administrative expense of Chapter 13              Total: Multiply Lines a
                                                                                   case                                                              and b
                                                                                                                                                                                               $
                                                                       51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                        $

                                                                                                                  Subpart D: Total Deductions from Income

                                                                       52    Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                     $
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                                                                                         Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

                                                                       53    Total current monthly income. Enter the amount from Line 20.                                                                 $
                                                                             Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                       54    disability payments for a dependent child, reported in Part I, that you received in accordance with
                                                                             applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                              $
                                                                             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer
                                                                       55    from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                             repayments of loans from retirement plans, as specified in § 362(b)(19).                                                     $
                                                                       56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                            $
                                                                             Deduction for special circumstances. If there are special circumstances that justify additional expenses
                                                                             for which there is no reasonable alternative, describe the special circumstances and the resulting expenses
                                                                             in lines a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the
                                                                             total in Line 57. You must provide your case trustee with documentation of these expenses and you must
                                                                             provide a detailed explanation of the special circumstances that make such expenses necessary and
                                                                             reasonable.
                                                                                                                                                                                            Amount of
                                                                       57
                                                                                   Nature of special circumstances                                                                            expense
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                                                                              a.                                                                                                        $
                                                                              b.                                                                                                        $
                                                                              c.                                                                                                        $
                                                                                                                                                              Total: Add Lines a, b, and c
                                                                                                                                                                                                          $
                                                                             Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
                                                                       58
                                                                             enter the result.                                                                                                            $
                                                                       59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                            $

                                                                                                              Part VI. ADDITIONAL EXPENSE CLAIMS

                                                                            Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                            and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                            income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                            average monthly expense for each item. Total the expenses.
                                                                                   Expense Description                                                                                          Monthly Amount
                                                                      60
                                                                             a.                                                                                                             $
                                                                             b.                                                                                                             $
                                                                             c.                                                                                                             $
                                                                                                                                                Total: Add Lines a, b and c                 $


                                                                                                                         Part VII. VERIFICATION

                                                                            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                            both debtors must sign.)

                                                                      61    Date: August 7, 2014                Signature: /s/ Mark R. Tucci
                                                                                                                                                                     (Debtor)


                                                                            Date: August 7, 2014                Signature: /s/ Mary Anne P. Tucci
                                                                                                                                                               (Joint Debtor, if any)
                                                                             Case
                                                                     B6 Summary       14-26409-JNP
                                                                                (Official                       Doc
                                                                                          Form 6 - Summary) (12/13)            9      Filed 08/21/14 Entered 08/21/14 15:22:16                                     Desc Main
                                                                                                                                      Document     Page 9 of 20
                                                                                                                                   United States Bankruptcy Court
                                                                                                                                        District of New Jersey

                                                                     IN RE:                                                                                                                Case No.
                                                                     Tucci, Mark R. & Tucci, Mary Anne P.                                                                                  Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                    SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                   ATTACHED           NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                    (YES/NO)          SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                               Yes                          1 $         131,000.00



                                                                      B - Personal Property                                           Yes                          3 $            5,800.00



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                            $       172,394.91


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                            $                0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                        11                             $         21,656.00
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $           4,287.72
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          3                                                     $           3,909.57
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      25 $          136,800.00 $             194,050.91
                                                                             Case
                                                                     B 6 Summary       14-26409-JNP
                                                                                 (Official                      Doc
                                                                                           Form 6 - Summary) (12/13)   9    Filed 08/21/14 Entered 08/21/14 15:22:16                Desc Main
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                                                                                                                           United States Bankruptcy Court
                                                                                                                                District of New Jersey

                                                                     IN RE:                                                                                       Case No.
                                                                     Tucci, Mark R. & Tucci, Mary Anne P.                                                         Chapter 13
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $           0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $      9,093.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL      $      9,093.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $      4,287.72

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $      3,909.57

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $      4,924.86


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $    41,394.91

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $           0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                      4. Total from Schedule F                                                                                             $    21,656.00

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    63,050.91
                                                                                       Case 14-26409-JNP                 Doc 9           Filed 08/21/14 Entered 08/21/14 15:22:16                                  Desc Main
                                                                                                                                        Document      Page 11 of 20
                                                                                   Tucci, Mark R. & Tucci, Mary Anne P.
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1           Mark
                                                                                         ___ ____R. Tucci
                                                                                                  _____ _______ ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                Middle Name                Last Name

                                                                      Debtor 2            Mary
                                                                                          ___    Anne
                                                                                              ____       P. Tucci
                                                                                                   _____ _______ ____ _____ ______ ____ _____ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for t he: District of New Jersey

                                                                      Case num ber        ___ ____ _____ ______ _____ _____ ______ ____ _____                                       Check if this is:
                                                                          (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                     Official Form 6I                                                                                                  MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                           12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:            Describe Employment
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                                                                     1.    Fill in your employment
                                                                           information.                                                              Debtor 1                                          Debtor 2 or non-filing spouse

                                                                           If you have more than one job,
                                                                           attach a separate page with
                                                                           information about additional            Employment status                   Employed                                           Employed
                                                                           employers.                                                                  Not employed                                       Not employed
                                                                           Include part-time, seasonal, or
                                                                           self-employed work.
                                                                                                                   Occupation                    Maintenance
                                                                                                                                                 __________________________________                Newspaper Deliverer
                                                                                                                                                                                                   __________________________________
                                                                           Occupation may Include student
                                                                           or homemaker, if it applies.
                                                                                                                   Employer’s name               PATCO
                                                                                                                                                 __________________________________                Philadelphia Media________________
                                                                                                                                                                                                   __________________ Network

                                                                                                                   Employer’s address           Berlin   Road _____ ____ _____ ______ ____ __
                                                                                                                                                __ ____ _______                                    53_______
                                                                                                                                                                                                  ___ Haddonfield
                                                                                                                                                                                                             ____ _____Rd  Ste
                                                                                                                                                                                                                        ____    306_____ ______
                                                                                                                                                                                                                             ______
                                                                                                                                                  Number    Street                                  Number    Street

                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____

                                                                                                                                                LIndenwold,
                                                                                                                                                __               NJ_____
                                                                                                                                                   ____ _____ ______  08021-0000
                                                                                                                                                                           _____ ______ ____ __   Cherry
                                                                                                                                                                                                  _____     Hill,
                                                                                                                                                                                                         _____    NJ_____
                                                                                                                                                                                                               ______ 08002-4802
                                                                                                                                                                                                                          ____ _____ ______ ____
                                                                                                                                                  Cit y              State   ZIP Code               City                   State ZIP Code

                                                                                                                   How long employed there?           7_______
                                                                                                                                                        years and 6 months                          3_______
                                                                                                                                                                                                      years and 6 months


                                                                      Part 2:            Give Details About Monthly Income

                                                                           Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                           spouse unless you are separated.
                                                                           If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                           below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                               For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                 3,799.18
                                                                                                                                                                              $___________                   871.90
                                                                                                                                                                                                       $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                 3.      + $___________
                                                                                                                                                                                   415.89          +          0.00
                                                                                                                                                                                                       $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                            4.          4,215.07
                                                                                                                                                                              $__________                    871.90
                                                                                                                                                                                                       $____________



                                                                     Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                    Case 14-26409-JNP                                Doc 9           Filed 08/21/14 Entered 08/21/14 15:22:16                                             Desc Main
                                                                                                                                                    Document      Page 12 of 20
                                                                     Debtor 1             Mark
                                                                                         ___     R. Tucci
                                                                                             _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                         Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.          4,215.07
                                                                                                                                                                                                   $___________                     871.90
                                                                                                                                                                                                                              $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.          734.32
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5e. Insurance                                                                                                  5e.           18.31
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5g. Union dues                                                                                                 5g.           46.62
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                           0.00          +          0.00
                                                                                                                                                                                                                             $_____________

                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.            799.25
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.          3,415.82
                                                                                                                                                                                                  $____________                    871.90
                                                                                                                                                                                                                             $_____________
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                                                                      8.   List all other income regularly received:
                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                                                                                                                                                                    0.00
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                         0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                             8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                           0.00            + $_____________
                                                                                                                                                                                                                                    0.00
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                      3,415.82
                                                                                                                                                                                                  $___________       +              871.90 = $_____________
                                                                                                                                                                                                                              $_____________      4,287.72

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents , your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                             0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        4,287.72
                                                                                                                                                                                                                                                       $_____________
                                                                                                                                                                                                                                                       Combined
                                                                                                                                                                                                                                                       monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                                 No.
                                                                                                None
                                                                                 Yes. Explain:


                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                        Case 14-26409-JNP                    Doc 9        Filed 08/21/14 Entered 08/21/14 15:22:16                                   Desc Main
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                                                                                     Tucci, Mark R. & Tucci, Mary Anne P.
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           Mark
                                                                                            ___      R. ____
                                                                                                _______ Tucci_____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                             First Name                  Middle Name               Last Name                        Check if this is:
                                                                          Debtor 2           Mary
                                                                                             ___ ____Anne   P. Tucci
                                                                                                      _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                                                                                                                                        An amended filing
                                                                          (Spouse, if filing) First Name                 Middle Name               Last Name
                                                                                                                                                                                        A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: District of New Jersey                                              expenses as of the following date:
                                                                                                                                                                                        ________________
                                                                          Case num ber       ___ ____ _____ ______ _____ _____ ______ _______ __                                        MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                        A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                        maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                      12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
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                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                             No
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                         No                                   Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
                                                                           Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                             No
                                                                           Do not state the dependents’                                                         _________________________                 ________
                                                                           names.                                                                                                                                            Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                     3.    Do your expenses include
                                                                                                                           No
                                                                           expenses of people other than
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                     Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                        4.
                                                                                                                                                                                                                   575.00
                                                                                                                                                                                                            $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                               4a.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                    4b.            60.00
                                                                                                                                                                                                            $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.            150.00
                                                                                                                                                                                                            $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                     4d.             0.00
                                                                                                                                                                                                            $_____________________

                                                                          Official Form 6J                                                   Schedule J: Your Expenses                                                          page 1
                                                                                      Case 14-26409-JNP                    Doc 9          Filed 08/21/14 Entered 08/21/14 15:22:16                          Desc Main
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                                                                      Debtor 1            Mark
                                                                                          ___    R. Tucci
                                                                                              _______ ____ _____ ______ _____ ____ _______ ____ _____ _____          Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                     Your expenses

                                                                                                                                                                                                    $_____________________
                                                                                                                                                                                                            0.00
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                         6a.            450.00
                                                                                                                                                                                                    $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                       6b.            115.00
                                                                                                                                                                                                    $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            350.00
                                                                                                                                                                                                    $_____________________

                                                                             6d.     Other. Specify: _______________________________________________                                        6d.             0.00
                                                                                                                                                                                                    $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                  7.             500.00
                                                                                                                                                                                                    $_____________________

                                                                      8.    Childcare and children’s education costs                                                                        8.              0.00
                                                                                                                                                                                                    $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                             9.             200.00
                                                                                                                                                                                                    $_____________________
                                                                     10.    Personal care products and services                                                                             10.            150.00
                                                                                                                                                                                                    $_____________________
                                                                     11.    Medical and dental expenses                                                                                     11.            200.00
                                                                                                                                                                                                    $_____________________

                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                           500.00
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                                                                                                                                                                                                    $_____________________
                                                                            Do not include car payments.                                                                                    12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.            100.00
                                                                                                                                                                                                    $_____________________
                                                                     14.     Charitable contributions and religious donations                                                               14.            80.00
                                                                                                                                                                                                    $_____________________

                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15b .   Health insurance                                                                                       15b .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15c.    Vehicle insurance                                                                                      15c.            0.00
                                                                                                                                                                                                    $_____________________
                                                                             15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                           479.57
                                                                                                                                                                                                    $_____________________
                                                                                       Real Estate Taxes
                                                                             Specify: ______________________________________
                                                                                                                           __________________                                               16.


                                                                     17.    Installment or lease payments:

                                                                             17a .   Car payments for Vehicle 1                                                                             17a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17b .   Car payments for Vehicle 2                                                                             17b .           0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 c.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17c.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 d.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                    $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                             0.00
                                                                                                                                                                                                    $_____________________
                                                                            Specify:_______________________________________________________                                                  19.

                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a .   Mortgages on other property                                                                           20 a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                    $_____________________

                                                                             20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20e .   Homeowner’s association or condominium dues                                                           20e .            0.00
                                                                                                                                                                                                    $_____________________



                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                     0.00
                                                                                      Case 14-26409-JNP                  Doc 9          Filed 08/21/14 Entered 08/21/14 15:22:16                            Desc Main
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                                                                       Debtor 1          Mark
                                                                                        ___     R. Tucci
                                                                                            _______ ____ _____ ______ _____ ____ _______ ____ _____ _____            Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                      21.     Other. Specify: _________________________________________________                                            21 .            0.00
                                                                                                                                                                                                  +$_____________________

                                                                      22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                         3,909.57
                                                                                                                                                                                                    $_____________________
                                                                             The result is your monthly expenses.                                                                          22 .




                                                                      23.   Calculate your monthly net income.
                                                                                                                                                                                                          4,287.72
                                                                                                                                                                                                     $_____________________
                                                                            23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                            23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                          3,909.57

                                                                            23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                            378.15
                                                                                                                                                                                                     $_____________________
                                                                                   The result is your monthly net income.                                                                 23c.




                                                                      24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                             For example, do you expect to finish paying for your car loan within the year or do you expect your
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                                                                             mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                                No.
                                                                                Yes.    None




                                                                            Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
                                                                               Case
                                                                     B7 (Official Form 7)14-26409-JNP
                                                                                          (04/13)                   Doc 9       Filed 08/21/14 Entered 08/21/14 15:22:16                                Desc Main
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                                                                                                                              United States Bankruptcy Court
                                                                                                                                   District of New Jersey

                                                                     IN RE:                                                                                                       Case No.
                                                                     Tucci, Mark R. & Tucci, Mary Anne P.                                                                         Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 34,902.00 Employment (2014 to date)
                                                                                 55,591.00 Employment (2013)
                                                                                 49,622.00 Employment (2012)

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                             who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                    NATURE OF PROCEEDING                              AND LOCATION                               DISPOSITION
                                                                     US Bank Cust for Crestar           Foreclosure                                       Superior Court of New Jersey,              Pending
                                                                     Capital, LLC vs. Mark R. Tucci, et                                                   Chancery Division
                                                                     al.                                                                                  Camden County
                                                                     Docket No.: F-025485-14
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
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                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     001 Debtorcc, Inc.                                               August, 2014                                                             9.95
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                                                                     372 Summit Ave
                                                                     Jersey City, NJ 07306-3110
                                                                     Law Offices Of Rex J. Roldan, P.C.                                August, 2014                                                                            40.00
                                                                     Washington Professional Campus
                                                                     900 Route 168 Ste I4
                                                                     Turnersville, NJ 08012-3212

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                             device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
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                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                             case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.


                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.
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                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                             potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                             the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: August 7, 2014                       Signature /s/ Mark R. Tucci
                                                                                                                of Debtor                                                                         Mark R. Tucci

                                                                     Date: August 7, 2014                       Signature /s/ Mary Anne P. Tucci
                                                                                                                of Joint Debtor                                                             Mary Anne P. Tucci
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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